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 7
                                                             The Honorable Benjamin Settle
 8
                          UNITED STATES DISTRICT COURT
 9                       WESTERN DISTRICT OF WASHINGTON
                                   AT TACOMA
10
      Jo Anna Lang, PR of the estate of Dick           NO. 3:20-cv-05057-BHS
11    Lang, Wife and Husband, adoptive
      parents of C.L., a minor child and R.L., a       NOTICE OF APPEARANCE
12    minor child, Jo Anna Lang, guardian ad
      litem, for C.L. and R.L.,                        (CLERK’S ACTION REQUESTED)
13
                 Plaintiffs,
14
         v.
15
      STATE OF WASHINGTON,
16    DEPARTMENT OF SOCIAL AND
      HEALTH SERVICES, (DSHS) CHILD
17    PROTECTIVE SERVICES, (CPS),
      Kaylena Gonzalez, individually and
18    MARK AUSTIN GONZALEZ and as a
      marital community, Pamela Williams,
19    individually, and Alan Robert Evans
      individually and as a marital community,
20    Jennifer White and John DOE White
      individually and as a marital community,
21    Laura Caruso, John Doe Caruso,
      individually and as a marital community;
22    Sarah Coshow, and John DOE Coashow,
      individually and as a marital community,
23    Janelle E. Redmond and JOHN DOE
      Redmond, individually and as a marital
24    community, Larraine Martinez, and
      JOHN DOE Martinez, individually and
25    as a marital community, Beth A.
      Kutzera, and JOHN DOE Kutzera,
26    individually and GLENN T. KUTZERA


     NOTICE OF APPEARANCE --                       1            ATTORNEY GENERAL OF WASHINGTON
                                                                             Torts Division
     NO. 3:20-cv-05057-BHS                                           800 Fifth Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
                                                                            (206) 464-7352
            Case 3:20-cv-05057-BHS Document 58 Filed 12/03/20 Page 2 of 4




 1      as a marital community, J. Aaron
        Merino, and JOHN DOE Merino; Jaimee
 2      Scheffler, individually and JOHN DOE
        Scheffler as a marital community, and,
 3      Office of the Attorney General, State
        Agency, Danial Hsieh, AAG, and
 4      Vancouver Police Department, and
        Cowlitz County Sheriff's Department,
 5      and Eimiko Murlin and Jeff Ian Murlin,
        individually and as a marital community
 6      were foster parents of C.L., and Steve
        Vallembois, Jimmy Howard, Foster
 7      parents for R.L., individually, and
        Kimberly Copeland, MD, Legacy
 8      Salmon Creek Medical Center,
 9                  Defendants.
10
     TO:    JO ANNA LANG, PR OF THE ESTATE OF DICK LANG, WIFE AND HUSBAND,
11          ADOPTIVE PARENTS OF C.L., A MINOR CHILD AND R.L., A MINOR CHILD, JO
            ANNA LANG, GUARDIAN AD LITEM, FOR C.L. AND R.L., Plaintiff
12
     TO:    KEVIN JOHNSON, Plaintiff’s Attorney
13
     TO:    CLERK OF THE COURT
14
            YOU AND EACH OF YOU will please take notice that STATE OF WASHINGTON,
15
     DEPARTMENT OF SOCIAL AND HEALTH SERVICES, CHILD PROTECTIVE
16
     SERVICES,      KAYLENA        GONZALEZ,        MARK       AUSTIN      GONZALEZ,         PAMELA
17
     WILLIAMS, JENNIFER WHITE, LAURA CARUSO, SARAH COSHOW, JAY REDMOND
18
     (INCORRECTLY IDENTIFIED AS JANELLE E. REDMOND), LORRAINE MARTINEZ
19
     (INCORRECTLY IDENTIFIED AS LARRAINE MARTINEZ), BETH A. KUTZERA, J.
20
     AARON MERINO, JAIMEE SCHEFFLER, DANIEL HSIEH (INCORRECTLY IDENTIFIED
21
     AS DANIAL HSIEH), EIMIKO MURLIN, JEFF IAN MURLIN, STEVEN VALLEMBOIS
22
     (INCORRECTLY IDENTIFIED AS STEVE VALLEMBOIS), JAMES VALLEMBOIS
23
     (INCORRECTLY IDENTIFIED AS JIMMY HOWARD), by and through their attorneys, Robert
24
     W. Ferguson, Attorney General, and ANDREW BIGGS Assistant Attorney General, without
25
     waiving objections as to improper service, jurisdiction or venue, hereby enter their appearance in
26


       NOTICE OF APPEARANCE --                          2               ATTORNEY GENERAL OF WASHINGTON
                                                                                     Torts Division
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             Case 3:20-cv-05057-BHS Document 58 Filed 12/03/20 Page 3 of 4




 1   the above-entitled action and requests that notice of any and all further proceedings in said action
 2   be served upon the undersigned attorney at the address stated below.
 3          TRANSMISSION BY FAX OR BY ELECTRONIC MAIL DOES NOT
 4   CONSTITUTE         SERVICE,       UNLESS      AGREED IN          WRITING        OR     UNLESS
 5   OTHERWISE REQUIRED BY COURT RULE.
 6          DATED this 3rd day of December, 2020.
 7                                                ROBERT W. FERGUSON
                                                  Attorney General
 8

 9                                                s/ Andrew Biggs
                                                  ANDREW BIGGS, WSBA No. 11746
10                                                Assistant Attorney General
                                                  Office of the Attorney General
11                                                800 Fifth Avenue Suite 2000
                                                  Seattle, WA 98104
12                                                Andrew.Biggs@atg.wa.gov
                                                  Attorneys for State of Washington, Department of
13                                                Social and Health Services, CPS, Kaylena Gonzalez,
                                                  Mark Austin Gonzalez, Pamela Williams, Jennifer
14                                                White, Laura Caruso, Sarah Coshow, Jay Redmond,
                                                  Larraine Martinez, Beth A. Kutzera, J. Aaron
15                                                Merino, Jaimee Scheffler, Danial Hsieh, Eimiko
                                                  Murlin and Jeff Ian Murlin, Foster parents of C.L.,
16                                                Steve Vallembois, and James Villambois Foster
                                                  parents for R.L.
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            Case 3:20-cv-05057-BHS Document 58 Filed 12/03/20 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2          I certify that I caused a copy of the foregoing to be served on the following persons in
 3   the manner indicated on this 3rd day of December, 2020:
 4
               CM/ECF SYSTEM:
 5

 6    Kevin L. Johnson, WSBA No. 24784               Patrick McMahon, WSBA No. 18809
      Kevin L. Johnson, P.S.                         Carlson & McMahon PLLC
 7    Attorney & Counselor at Law                    715 Washington Street
      1405 Harrison Ave NE, Suite 204                PO Box 2965
 8    Olympia, WA 98502                              Wenatchee, WA 98807-2965
      Tel: (360) 753-3066                            Tel: (509) 662-6131
 9    E-mail: Kevinjohnson230@gmail.com              Fax: (509) 663-0679
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                                                     francescan@carlson-mcmahon.org
11                                                   trisha@carlson-mcmahon.org
                                                     Attorney for Cowlitz County Sheriff’s Office
12
      Ketia B. Wick, WSBA No. 27219                  Daniel G. Lloyd, WSBA No. 34221
13    FAVROS LAW                                     Assistant City Attorney
      701 5th Avenue, Suite 4750                     City Attorney’s Office / Civil Division
14    Seattle, WA 98104                              PO Box 1995, Vancouver, WA 98668
      Tel: (206) 749-0094                            Tel: (360) 487-8520
15    Cell: (206) 356-6343                           Fax: (360) 487-8501
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16    E-mail: ketia@favros.com                       Email: dan.lloyd@cityofvancouver.us
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      Bill W. Bruns,
18    bill@favros.comketia@favros.com
      Attorney for Kimberly Copeland, MD and
19    Legacy Salmon Creek Medical Center

20

21                                             s/ Andrew Biggs
                                               ANDREW BIGGS, WSBA No. 11746
22                                             Assistant Attorney General
                                               Office of the Attorney General
23                                             800 Fifth Avenue Suite 2000
                                               Seattle, WA 98104
24                                             Andrew.Biggs@atg.wa.gov
                                               Attorney for Defendants
25

26


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